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                                 UNITED STATES DISTRICT COURT
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                                                                 FIL£D04 SEP '2413:291JSDC·IJ:f'
                                          DISTRICT OF OREGON
 3
                                           PORTLAND DMSION
 4

 5
     MARICELA RAMIREZ,
                                  Plaintiff,          COMPLAINT 3 :2'/-W-Jt/70-5.15
 6
     Versus                                           VIOLATION OF EMERGENCY MEDICAL
 7
                                                      TREATMENT AND ACTIVE LABOR ACT.
 8   OREGON HEALTH AND SCIENCE                        ~2 US. Code§ 1395dd
     UNIVERSITY; KATHERINE HAVARD, PA-
 9   C; BRENDAN J. CUNNINGHAM, DO; DOES (REQUEST FOR JURY TRIAL)
     1 TO 100, Inclusive

11                                  Defendants.

12
                                          PARTIES TO THIS COMPLAINT
13
     Plaintifrs Name, Address and Phone Number:
14   MARICELA RAMIREZ, PRO SE
     1263 8 NW Barnes Road, # 8
15
     Portland, OR 97229
16   (503)644-7173

17   Defendants' Name, Address and Phone Number:
     OREGON HEAL TH AND SCIENCE UNIVERSITY HO SPIT AL
18
     KATHERINE HAVARD, PA-C
19   BRENDAN J. CUNNINGHAM, DO .
     Central Services
20   Risk Management
     Mail Code: L328
21
     3181 S.W. Sam Jackson Park Road
22   Portland, OR 97239

23   DEFENDANTS KATHERINE HAVARD, PA-C AND BRENDAN CUNNINGHAM, DO
24
     AND DOES 1 TO 100, INCLUSIVE, ARE BEING SUED IN BOTH OFFICIAL AND
     INDIVIDUAL CAPACITIES.
25
                                                   COMPLAINT
26
              COMES NOW Plaintiff MARICELA RAMIREZ, individually, and for cause of action
27
     against Defendants, and each of them, KATHERINE HAY ARD, PA-C and BRENDAN
28
     CUNNINGHAM, DO and DOES 1 to 100 in both official and individual capacities, as follows :
                                                      1

     Plaintiff MARICELA RAMIREZ'
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 2                                            NATURE OF THE CASE
 3            1. Thi s is a case of violation of the E mergency Medical Treatment and Active Labor Act
 4
     (EMT ALA) and Intentional Infliction of Emotional Distress. Plaintiff alleges that Defendants
 5
     engaged in violation of the EMT ALA. Plaintiff seeks injunctive relief from these practices;
 6

 7
     general , compensatory and punitive damages; and an award of costs, expenses, and attorneys '

 8   fees .

 9
                                           JURISDICTION AND VENUE
              2. At all material times, OREGO      HEAL TH AND SCIENCE UNIVERSITY
11
     (hereinafter "OHSU'') was and is a corporation of the State of Oregon doing regular and
12
     sustained business in Multnomah County, Oregon as a public hospital providing inpatient and
13
     outpatient medical, surgical and hospital care to patients.
14
              3. At all material times OHSU's employees, including KATHERINE HAY ARD, PA-C
15
     and BRENDAN CUNNINGHAM, DO, were working in the course and scope of their
16
     employment for OHSU TUALITY ER and both were working under color oflaw.
17
              4. This Court has jurisdiction over Plaintiff's claims of vio lations of Plaintiffs federal
18
     Constitutional rights pursuant to 28 U.S.C. §§ 1331 and 1343(a)(4). Moreover, this Court has
19
     jurisdiction of Plaintiffs' claims pursuant to the Emergency Medical Treatment and Active Labor
20

21   Act.

22            5. Venue is proper under 28 U.S .C. § 1391(6) (c), in that one or more of the defendants
23
     reside in the District of Oregon and Plaintiffs ' claims for relief arose in this district.
24

25                                 EMTALASTATUTORYFRAMEWORK

26            6. EMT ALA states, inter alia, that any hospital that receives Med icare funds and operates
27
     an emergency department:
28

                                                         2

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                    I.      must stabilize any individual determined to have an emergency medical
                            condition, see 42 U.S.C.§ 1395dd(b); and
 2
                    11.     ii. may not transfer (which includes discharge) any individual with an
 3                          emergency medical condition who has not been stabilized, unless, inter
                            alia, the individual requests a transfer or a physician certifies that the
 4
                            benefits of a transfer to another medical facility outweigh the increased
 5
                            risks to the patient, see id. § 1395dd(c).

 6           7. EMT ALA defines an emergency medical condition as "a medical condition

 7
     manifesting itself by acute symptoms of sufficient severity (including severe pain) such that the
 8
     absence of immediate medical attention could reasonably be expected to result in placing the
 9
     health ofthe individual ... in serious jeopardy, [cause] serious impairment to bodily functions,
10

11   or serious dysfunction of any bodily organ or part." Id. § 1395dd(e)(l)(A).

12           8. EMTALA defines "to stabilize" to mean "to provide such medical treatment of the
13
     condition as may be necessary to assure, within reasonable medical probability, that no material
14
     deterioration of the condition is likely to result from or occur during the transfer of the individual
15
     from a facility[ .]" Id. § 1395dd(e)(3)(A).
16

17          9. OHSU ED Defendants receive Medicare funds and operate emergency departments

18   and are subject to the requirements ofEMTALA.
19
                                FACTS COMMON TO ALL CAUSES OF ACTION
20
             10. On September 8 and September 16, 2022, Plaintiff went to the OHSU ED TUALITY
21

22
     HEALTHCARE because she fell and suffered of extreme difficulty standing-up and walking,

23   extreme diffuse pain and worsening symptoms of kidney failure, liver and gallbladder diseases,
24
     cancer, etc. The ED attending physicians KATHERINE HAVARD, PA-C and BRENDAN
25
     CUNNINGHAM, DO, and OHSU ED TUALITY HEALTHCARE Staff intentionally denied
26
     appropriate medical screening to Plaintiff for her emergency medical condition and palliative
27

28

                                                       3

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     care. Moreover, Defendants treated Plaintiff differently and intentionally discriminated against
2
     her on the basis of her Mexican race.
3
                                             FIRST CLAIM FOR RELIEF :
4
              FIRST CLAIM FOR RELIEF : Violation of Emergency Medical Treatment and Active
5
                                 Labor Act ("EMTALA") 42 U.S . Code§ 1395dd.
6

7                        (Brought Against Oregon Health and Science University Hospital)

8            11 . Plaintiff repeats and realleges each and every foregoing and subsequent allegation in

9    the complaint as though said paragraphs were set forth in full herein."

             12. September 8 and September 16, 2022, Plaintiff went to the OHSU ED TUALITY
11
     HEAL TH CARE because she fell and suffered of extreme difficulty standing-up and walking,
12

13   extreme diffuse pain and weakness and worsening symptoms of kidney failure, liver and
14
     gallbladder diseases, cancer, etc.
15
             13 . OHSU ED TUALITY HEAL TH CARE doctors did not provide appropriate
16

17   medical screening to Plaintiff as required by EMT ALA

18           "(a)MEDICAL SCREENING REQUIREMENT
19
             In the case of 9; hospital that has a hospital emergency department, if any
20            individual (whether or not eligible for benefits under this subchapter) comes to the
             emergency department and_9;._request is made on the individual ' s behalf for examination
21           or treatment for_9;._medical condition, the hospital must provide for an
              appropriate medical screening examination within the capability of the
22
              hospital ' s emergency department, including ancillary services routinely available to the
23           emergency department, to determine whether or not an emergency medical
             condition (within the meaning of sub section ( e)( 1)) exists.
24
             (b )NECESSARY STABILIZING TREATME~1 FOR EMERGENCY MEDICAL CONDITIONS AND
25           LABOR

26
             (l)IN GENERAL If any individual (whether or not eligible for benefits under this
27           subchapter) comes to a hospital and the hospital determines that the individual has
             an emergency medical condition, the hospital must provide either-
28

                                                       4

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             (A) within the staff and facilities available at the hospital, for such further medical
             examination and such treatment as may be required to stabilize the medical condition, or
 2

 3           (B) for transfer of the individual to another medical facility in accordance with subsection

 4

 5           14. OHSU ED TUALITY HEALTHCARE attending physicians denied to Plaintiff

 6
     appropriate medical screening, hospitalization and deliberately denied to Plaintiff adequate
 7
     medical care for her emergency medical condition. OHSU ED TUALITY HEALTHCARE
 8

 9   attending physicians discharged Plaintiff from the emergency room knowing that she is not in

10   stable condition because she suffered of extreme difficulty standing-up and walking, extreme
11
     diffuse pain and weakness and worsening symptoms of kidney failure, liver and gallbladder
12
     diseases, cancer, etc. OHSU ED TUALITY HEALTHCARE attending physicians violated
13

14   EMTALA. 42 U.S . Code§ 1395dd.

15           15 . Defendants showed a reckless, deliberate and outrageous indifference to a highly
16
     unreasonable risk of harm to Plaintiff. Defendants acted with a conscious and deliberate
17
     indifference to the health, safety and welfare of Plaintiff. As such, Plaintiff is entitled to receive
18
     punitive damages as determined reasonable by a jury
19

20           16. As a result ofthe constitutional violations alleged herein, Plaintiff suffers of extreme

21   difficulty standing up and walking, worsening weakness of her right hand, arm, leg and foot and

22   worsening of osteoarthritis of her hands, elbows, knees, ankles, feet, spine and hips and

23   worsening of her cancer, chronic kidney failure, etc. These injuries, and the consequences of

24   them, have caused Plaintiff to suffer economic damages in the form of medical care and

25   expenses, in a reasonable amount of approximately over $100,000 .00.

26           17. As a result of the above-described constitutional violations, plaintiff suffered from

27   severe emotional di stress, sense of betrayal and abandonment extreme physical pain and her
28
     medical condition worsened, all to her noneconomic damages in an amount to be proven at trial.
                                                        5

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             18. As a further result of the constitutional violations alleged herein, Plaintiff also
2
     suffered non-economic damages in the form of pain and fear. Plaintiff suffered non-economic
3
     damages in an amount determined to be reasonable by a jury.
4

5
             19. As a direct and proximate result ofDefendants' violations of Plaintiffs constitutional

6    rights, Plaintiff suffered damages to be proven at trial.

7            20. In performing the acts herein alleged, Defendants acted maliciously, fraudulently, and
 8
     oppressively, thereby justifying an award of punitive damages.
 9
            WHEREFORE, Plaintiff seeks relief as set forth below.

II                                         SECOND CLAIM FOR RELIEF

12                         INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

13                                             (Brought Against OHSU)

14           21 . Plaintiff repeats and realleges each and every foregoing and subsequent allegation in

     the complaint as though said paragraphs were set forth in full herein.
16
             22. Defendants' conduct was outrageous, intentional and malicious, and was done with
17
     reckless disregard of the probability of causing Plaintiff to suffer extreme physical pain and
18
     extreme emotional distress. Defendants' acts constituted an extraordinary transgression of the
19

20   bounds of socially tolerable conduct.

21           23 . As a sole, direct and proximate result of the above described conduct of the
22
     Defendants, and each of them, Plaintiff's weakness of her right hand, arm, leg and foot worsened
23
     and the osteoarthritis of her hands, elbows, knees, ankles and feet worsened and also her cancer,
24
     and chronic kidney failure, etc. worsened. Plaintiff is informed and believes and, upon such
25

26   information and belief, alleges worsening weakness of her right hand, arm, leg and foot and

27   worsening osteoarthritis of her hands, elbows, knees, ankles, feet, spine and hips and also
28
     worsening of her cancer, and chronic kidney failure, etc. , extreme difficulty standing-up,
                                                        6

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     weakness and walking resulted in permanent disability to her, all to her general and non-
 2
     economic damages in an amount that is in excess of this Court's minimum jurisdictional amount
 3
     and which will be stated according to proof
 4

 5           24 . The actions of the Defendants constitute reprehensible and despicable conduct that

 6   subjected Plaintiff to cruel and unjust hardship in conscious disregard of her rights . In doing the

 7
     foregoing acts, the Defendants acted with malice and with willful and conscious disregard of the
 8
     safety and well-being of Plaintiff.
 9
             25. Defendants' conduct in confirming and ratify ing that conduct was done with
10

11   knowledge that Plaintiff's life-threatening medical condition would worsen and emotional

12   distress would thereby increase, and was done with a wanton and reckless disregard of the
13
     consequences to Plaintiff. Defendants' conduct was extreme and outrageous. Defendants' acts
14
     constituted an extraordinary transgression of the bounds of socially tolerable conduct. Such
15
     conduct qualifies as despicable conduct, warranting the imposition of punitive and exemplary
16

17   damages against the Defendants, and each of them.

18           WHEREFORE, Plaintiff seeks relief as set forth below.
19
                                              PRAYER FOR RELIEF
20
             WHEREFORE, Plaintiff prays for judgment against the Defendants, and each of them, as
21

22
     follows :

23           1. Findings of constitutional violations committed by Defendants against Plaintiff
24
             2. For economic damages in the amount of over $100,000.00 or as found to be
25
                 reasonable by a jury;
26
             3. For non-economic damages in the amount of over 100, 000.00 or as found to be
27

28               reasonable by a jury;

                                                       7

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            4. For punitive damages in the amount of $1 ,000,000 or as found to be reasonable by a
 2
                jury; and
 3
             5. For his attorney fees, costs and disbursements incurred herein.
 4

 5          6. For such further and other relief as this court deems just and proper.

 6                                               JURY DEMAND :
 7
             116. Plaintiff hereby respectfully demands a jury trial on all issues so triable.
 8
                                                           Respectfully Submitted,
 9

10
     Dated : September 4, 2024                             By:~ b
11                                                         MARICELA RAMIREZ, Plaintiff

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     Plaintiff MARICELA RAMIREZ'
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